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                  United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 22-3018                                                September Term, 2023
                                                                    1:21-cr-00315-RCL-1
                                                  Filed On: November 9, 2023 [2026164]
United States of America,

                Appellee

      v.

James Little,

                Appellant

                                     MANDATE

      In accordance with the judgment of August 18, 2023, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk




Link to the judgment filed August 18, 2023
